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          Exhibit B
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            OZONE LEVEL TESTING INVOLVING
                     USE OF A SOCLEAN 2 WITH
                            A DREAMSTATION 1

                             EXPERT REBUTTAL REPORT
                                      Issue Date: April 29, 2025

                                Litigation Between SoClean and Philips




                                            Prepared for:
        BAKER BOTTS LLP AND SULLIVAN AND CROMWELL LLP
                                            on behalf of:

                                       Philips Parties



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1 INTRODUCTION
BakerRisk® was retained by Baker Botts LLP and Sullivan and Cromwell LLP (Counsel) to perform testing
in response to an expert report submitted by SoClean. BakerRisk performed testing of ozone levels in
DreamStation 1 Continuous Positive Airway Pressure (CPAP) machines before, during and after the use of
a SoClean 2 machine to evaluate certain statements made by Dr. Brad Olsen, as discussed below.
This report describes the tests that were performed, and the results obtained from these tests.

BakerRisk has made every reasonable effort to perform the work reflected in this report in a manner
consistent with high professional standards. BakerRisk reserves the right to modify or supplement this
report if new information becomes available.



2 BACKGROUND OF REBUTTAL TESTING
Dr. Brad Olsen makes a number of assertions in his expert report, including the following:1
     •   Dr. Olsen describes various tests performed by, or at the direction of Philips, in which he claims
         the sound abatement foam was exposed to excess ozone concentration levels from a SoClean 2,
         although Dr. Olsen never identifies the concentration levels to which the foam was exposed in
         what he described as a “real-world scenario,” or a “real-world configuration.” For instance, on
         page 75 of his report, he writes with respect to a Phillips test: “Consequently, the foam samples
         received direct exposure to ozone at concentrations and for durations that are likely much higher
         than a typical real-world configuration in the field.”
     •   With respect to ozone cycling tests as part of the PSN analysis in early 2021, Dr. Olsen claims that
         Philips engineers did not connect the SoClean 2 to the DreamStation 1 consistent with the SoClean
         2 User Manual. In particular, Dr. Olsen writes on page 58 of his report: “During the ozone cycling,
         it appears that Philips engineers ‘slid[] the SC tubing all the way into the blower box . . . [g]iving
         direct exposure deep inside the unit.’ It also appears that Philips removed water from the
         reservoir for CPAP devices with a humidifier.”

     •   With respect to a variety of Philips’ tests, Dr. Olsen criticizes their “accelerated” nature, including
         the fact that SoClean 2 ozone cycles were run more than once during certain days of the testing.
         Again, Dr. Olsen claims Philips tests were not run in what he describes as the “real-world scenario”
         or the “real-world configuration.” For instance, on pages 66 to 68 of his report, Dr. Olsen criticizes
         one Philips test because it involved four ozone cleaning cycles in one day, stating that “[t]he
         screening experiments had no resemblance to ‘typical use’ in a real-world setting, where a
         SoClean device would be connected to CPAP machine and run at most once per day.” In that test,
         as with other Philips tests (e.g., Olsen report at 57, 79), there was a two-hour dwell time between
         ozone cycles to allow the ozone to dissipate.


1
    Brad Olsen, Ph.D. Expert Report., March 24, 2005


                                                                                                               1
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3 TEST PURPOSE
The purpose of the test program described in this report was to evaluate statements made by Dr. Olsen.
BakerRisk first documented the internal geometry and flow paths among the SoClean 2, DreamStation 1
CPAP machine, breathing hose, mask, and SoClean 2 chamber. The testing measured ozone levels in a
DreamStation 1 (Figure 1) that was connected to a SoClean 2 (Figure 2), which generates ozone for claimed
disinfection purposes. Ozone from the SoClean 2 was delivered to the DreamStation 1 by a SoClean black
rubber hose and a black plastic adapter that attaches to the DreamStation 1, either directly or to the
DreamStation 1’s humidifier. For tests that involved a humidifier (Figure 2), the adapter also inserts a
section of black hose (injection hose) into the reservoir of the humidifier, which was cut in accordance
with the SoClean 2 User Manual. The injection hose was cut about 1/8-inch short of touching the bottom
of the humidifier water reservoir. For the configuration that did not involve a humidifier (Figure 3), certain
tests were run with a cut injection hose and certain tests were run without the injection hose altogether,
which is consistent with the SoClean 2 User Manual.




                                     Figure 1. Philips DreamStation 1




                                                                                                             2
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               Figure 2. SoClean 2 Connected to Philips DreamStation 1, with Humidifier




             Figure 3. SoClean 2 Connected to Philips DreamStation 1, without Humidifier




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The SoClean 2 machine operates when the CPAP is not in use. The SoClean 2 User Manual states that it is
“designed to safely contain ozone within the system and has a catalyst Cartridge Filter inside the
Disinfecting Chamber to convert ozone back to oxygen.”2

The SoClean 2 has an automated disinfecting cycle that can be operated at a pre-programmed time of
day. A disinfecting cycle can also be initiated by pressing the manual start button. While there are other
settings for cycle length, the default disinfecting cycle length is 7 minutes.3 After completing the cycle,
another disinfecting cycle cannot be initiated for a period of 2 hours.4 This waiting period is referred to
as the “Dwell Time.”


4 TEST SETUP
The tests utilized two new Philips DreamStation 1 and two new SoClean 2 machines. Ozone sensors were
inserted into the CPAP blower chamber by disassembling the CPAP outer shell, removing four screws,
removing the top cover, and fitting the ozone sensor inside the blower chamber. Figure 4 shows a blower
chamber opened for insertion of an ozone sensor.




                     Figure 4. DreamStation 1 Opened for Insertion of Ozone Sensor



2
    SoClean_B2B_00009438 (SoClean 2 User Manual) at p. 23.
3
    SoClean_B2B_00009438 (SoClean 2 User Manual) at p. 12.
4
    SoClean_B2B_00009438 (SoClean 2 User Manual) at p. 22.


                                                                                                           4
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SPEC Sensors ozone sensors model ULPSM-03 968-046O were used for tests 1 through 6. These sensors
are accurate within a range of 0 to 20 ppm, and provide an output up to about 55 ppm. The ozone sensors
were placed next to the blower in Setup A, as shown in Figure 5.

Setup B involved placing an ozone sensor beneath the blower to get a measurement closer to the blower
inlet. A part of an internal wall of the blower chamber was removed to fit the ozone sensor in the bottom
of the chamber. The portion of the internal wall that was cut is outlined in Figure 6 before cutting.
The sensor fitted in the channel is shown in Figure 7. Removal of the piece of the plastic wall did not affect
the flow of ozone through the chamber since the remaining portion of the passage was the only path for
the ozone flow to exit the chamber.




          Figure 5. SPEC Ozone Sensor Installed in DreamStation 1 Beside Blower in Setup A




                                                                                                             5
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          Figure 6. Outline of Internal Wall Removed for Ozone Sensor Placement in Setup B




                    Figure 7. SPEC Ozone Sensor Fitted in Bottom Channel in Setup B



                                                                                                        6
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All tests using Setups A and B exceeded the 20-ppm measurement range of the SPEC Sensors ozone
sensors.

Setups C and D were the same as Setup A, except that MikroElekronika 1000 ppm sensors (MQ1310) were
installed in place of the SPEC sensors. Tests 7 through 32 were run with Setups C and D. Per the
manufacturer, the 1000 ppm sensors are not designed to accurately measure the concentration.
Rather, the 1000 ppm sensors are designed to detect the presence of ozone and are capable of operating
in ozone environments up to 1000 ppm without damaging the sensor. The MQ1310 sensor would not fit
under the blower; as a result, Setups C and D had the same sensor placement as Setup A, beside the
blower but with the MQ1310 sensor, as shown in Figure 8. Setups C and D were the same, but on the two
different pairs of DreamStation 1 and SoClean 2 machines.




                   Figure 8. Ozone Sensor Placed beside the Blower in Setups C and D

No holes were cut or drilled in the exterior of the blower chamber for testing. A hole was drilled to pass
ozone sensor cables through an internal chamber wall to the to the air inlet port. The hole was sealed
with silicon sealant as shown in Figure 9. A hole was cut in the inlet filter to have cables exit the
DreamStation 1 as shown in Figure 10.




                                                                                                          7
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       Figure 9. Ozone Sensor Cables Passing through Interior Wall, Sealed with Silicon Sealant




        Figure 10. Ozone Sensor Cables Exiting the DreamStation 1 through the Air Inlet Filter




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The cables from the ozone sensor were connected to a computer data acquisition system. The signals
from the ozone sensors were sampled at 5 Hz throughout the tests, including the 7-minute disinfecting
cycle, the 2-hour wait period (Dwell Time), and the post-test air purge (as described below).

A third type of sensor, a handheld Gas Dog model GD200·O3, was also used in Setups C and D during tests
13 to 32. The GD200·O3 sensor had a 2000 ppm measurement range. When the handheld ozone sensor
was used, a sample tube was inserted into the device being sampled. For the measurements inside the
SoClean 2’s disinfecting chamber, a sample tube was inserted and sealed to the side port opposite the
port being used for the hose connected to the mask. For the measurements inside the DreamStation 1,
the sample tube was inserted through the air filter port into the flow channel until it was up against the
flow straightener, approximately halfway around the perimeter of the flow channel, as shown in Figure
11. This placed the end of the sample tube beneath the two pieces of foam and nearly centered between
the foam pieces. The sampling tube exited the DreamStation 1 through the air filter, as shown in Figure
12.




                Figure 11. Sampling Tube Inserted into Flow Channel of DreamStation 1
                                (red arrows point to the sample tube)




                                                                                                          9
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                   Figure 12. Sampling Tube Exiting DreamStation 1 Through Air Filter

Distilled water was used in the humidifier in tests involving a filled DreamStation 1 humidifier.

A Philips DreamWear Medium Frame mask was attached to the air hose for all tests. The mask was
inserted into the SoClean 2’s disinfecting chamber as would be normal during use of the SoClean 2.

All tests were performed with ambient relative humidity between 30 and 50% and at ambient room
temperature. Relative humidity was measured using a hand-held Fluke 971 meter. Measurements were
taken at the beginning of each test.

Ozone concentration was also measured inside the DreamStation 1 during the 2-hour dwell period that
followed the 7-minute disinfection period. In all tests, the ozone level went to zero inside the
DreamStation 1 before the end of the 2-hour dwell period. Nonetheless, air purges were performed on
the CPAP machine between tests (following the conclusion of the 2-hour dwell period) to ensure the
removal of any remaining ozone. Room air was blown into the CPAP machine using a small fan. When the
humidifier was installed, air was blown into the breathing hose port. When the humidifier was not used,
air was blown into the CPAP air outlet port. Ozone level was monitored during the purge to ensure the
ozone level was zero before the next test. Purges were performed for 2 minutes. No detectable ozone
was observed in any time during a purge process.

Tests were initiated by pressing the “Manual” button on each SoClean 2 and syncing to a data acquisition
system in LabVIEW. DreamStation 1 machines were not running or powered on during disinfecting cycles.




                                                                                                           10
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5 TEST MATRIX
Two DreamStation 1 and two SoClean 2 machines were tested. The same DreamStation 1 was paired with
the same SoClean 2 for all tests. The machine combinations were tested in five modes as shown in Table
1. With the setup and mode combinations, repeat tests with different ozone sensors, and sensor
placement combinations, 32 different tests were performed.


                                            Table 1. Test Modes
                    DreamStation 1                    SoClean 2
    Mode                                                                        Humidifier Water Level
                     Configuration                   Connection

                                               To air outlet port from
      1           Without a humidifier                                               Not applicable
                                                  DreamStation 1
      2             With humidifier                                                      Empty
      3             With humidifier                To outlet from           Filled to the identified max level
                                                   DreamStation 1
              With humidifier, water tank            humidifier
      4                                                                              Not applicable
                      removed

                                                To air outlet port from
      5           Without a humidifier             DreamStation 1                    Not applicable
                                               Injection hose removed


Tests 1 through 6 utilized the SPEC 0 to 20 ppm sensors and evaluated the various setup and mode
combinations. Since the ozone measurements exceeded the 20-ppm range of the SPEC sensors in each
test, the MQ1310 sensors were utilized in tests 7 through 32. The calibrated GD200-03 sensor was used
in tests 13 to 32 in addition to the MQ1310 sensors.

Table 2 provides the expanded setup, mode, DreamStation 1 configuration, SoClean 2 connection, and
humidifier water level for the entire test matrix.




                                                                                                                 11
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                                            Table 2. Test Matrix
                                                                                          Humidifier
                      DreamStation 1                          SoClean 2
  Setup   Mode                                                                              Water        Test
                       Configuration                         Connection
                                                                                            Level
    A       1       Without a humidifier      To air outlet port from DreamStation 1         N/A          1
    B       1       Without a humidifier      To air outlet port from DreamStation 1         N/A          2
    A       2          With humidifier       To outlet from DreamStation 1 humidifier       Empty         3
    B       2          With humidifier       To outlet from DreamStation 1 humidifier       Empty         4
    A       3          With humidifier       To outlet from DreamStation 1 humidifier        Filled       5
    B       3          With humidifier       To outlet from DreamStation 1 humidifier        Filled       6
    C       1       Without a humidifier      To air outlet port from DreamStation 1         N/A          7
    D       1       Without a humidifier      To air outlet port from DreamStation 1         N/A          8
    C       2          With humidifier       To outlet from DreamStation 1 humidifier       Empty         9
    D       2          With humidifier       To outlet from DreamStation 1 humidifier       Empty         10
    C       3          With humidifier       To outlet from DreamStation 1 humidifier        Filled       11
    D       3          With humidifier       To outlet from DreamStation 1 humidifier        Filled       12
    C       3          With humidifier       To outlet from DreamStation 1 humidifier        Filled       13
    C       3          With humidifier       To outlet from DreamStation 1 humidifier        Filled       14
    C       3          With humidifier       To outlet from DreamStation 1 humidifier        Filled       15
    C       3          With humidifier       To outlet from DreamStation 1 humidifier        Filled       16
    C       3          With humidifier       To outlet from DreamStation 1 humidifier        Filled       17
    C       3          With humidifier       To outlet from DreamStation 1 humidifier        Filled       18
    C       2          With humidifier       To outlet from DreamStation 1 humidifier       Empty         19
    C       2         With humidifier        To outlet from DreamStation 1 humidifier       Empty         20
                   With humidifier water
    C       4                                To outlet from DreamStation 1 humidifier        N/A          21
                       tank removed
                   With humidifier, water
    C       4                                To outlet from DreamStation 1 humidifier        N/A          22
                       tank removed
    C       1      Without a humidifier       To air outlet port from DreamStation 1         N/A          23
    C       1       Without a humidifier      To air outlet port from DreamStation 1         N/A          24
    D       1       Without a humidifier      To air outlet port from DreamStation 1         N/A          25
    D       1       Without a humidifier      To air outlet port from DreamStation 1         N/A          26
    D       3          With humidifier       To outlet from DreamStation 1 humidifier        Filled       27
    D       3          With humidifier       To outlet from DreamStation 1 humidifier        Filled       28
    D       2          With humidifier       To outlet from DreamStation 1 humidifier       Empty         29
    D       2          With humidifier       To outlet from DreamStation 1 humidifier       Empty         30
                    Without a humidifier,
    D       5                                 To air outlet port from DreamStation 1         N/A          31
                   injection tube removed
                    Without a humidifier,
    D       5                                 To air outlet port from DreamStation 1         N/A          32
                   injection tube removed




                                                                                                                12
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6 TEST RESULTS
Upon commencement of a disinfecting cycle, ozone concentration within the DreamStation 1 increased
rapidly in all tests. Ozone was first detected in DreamStation 1s within 30 to 74 seconds in tests 1 to 6
with Setups A and B (see time to exceed 20 ppm in Table 3) with an average of 46 seconds. The SPEC
ozone sensors had an output of up to 55 ppm at which point the signals reached the maximum of the
sensors and plateaued (clipped). The accuracy of ozone concentrations over 20 ppm is not known, but
indicated concentrations were still increasing rapidly during tests when signals clipped. Table 3 provides
a summary of the times at which 20 ppm was exceeded and the signal clipped at a reading of 55 ppm.

  Table 3. Times of Ozone Concentration Detection and Ozone Decay in DreamStation 1s Using SPEC
                                Ozone Sensors (Test Setups A & B)
                                                  Humid.     Time (seconds) to       Time (seconds) After
 Test   Setup,    DreamStation      SoClean 2                     Exceed             Disinfect. to Decay to
                                                  Water
 No.    Mode         Config.        Connect.
                                                   Level     20 ppm    55 ppm    55 ppm     20 ppm     0 ppm
                    Without
  1      A, 1                       DS outlet      N/A         30        55        989        1024      2029
                    humid.
                    Without
  2      B, 1                       DS outlet      N/A         38        40       1091        1133      2029
                    humid.
  3      A, 2     With humid.      Humid. Port    Empty        74       120       1057        1286      3221
  4      B, 2     With humid.      Humid. Port    Empty        36        49       1051        1088      3221
  5      A, 3     With humid.      Humid. Port     Filled      58        87       1095        1255      2407
  6      B, 3     With humid.      Humid. Port     Filled      41        47        906        939       2407


Ozone persisted for a period of time in the DreamStation 1 after all of the disinfecting cycles. The time
after the disinfection period at which ozone concentrations decayed to be back in range of the ozone
sensor (indicated 55 ppm), 20 ppm, and zero ppm are provided in Table 3. As can be seen, it took 939 to
1286 seconds, averaging 1121 seconds (18.7 minutes), to decay below 20 ppm ozone, and 2029 to
3221 seconds to decay 0 ppm ozone, averaging 2552 seconds (42.5 minutes).

Setups C and D used the MQ1310 sensors. Results were similar to Setups A and B in that ozone
concentrations rose rapidly after initiation of the disinfecting cycle, as shown in Table 4. During tests 7 to
32, the time for ozone to reach a DreamStation 1 ranged from 2 to 64 seconds with an average of
13 seconds. The average time after the disinfection period for the ozone concentration to return to zero
after the end of the disinfecting cycle was 2671 seconds (44.5 minutes) with a range of 498 seconds
(8.3 minutes) to 6650 seconds (110.8 minutes).

It took considerably longer for ozone to reach the SoClean 2 chamber than the DreamStation 1. A MQ1310
sensor was placed in the SoClean 2 chamber during tests 13 to 32. The time for ozone to be detected in
the SoClean 2 chamber ranged from 73 to 550 seconds as shown in Table 4, averaging 232 seconds
(3.9 minutes).



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Table 4. Times of Ozone Concentration Detection and Ozone Decay in DreamStation 1s Using MQ1310
                                Ozone Sensors (Test Setups C & D)
                                                                 DreamStation                   SoClean 2

                                                  Humid.                     Time                       Time
Test    Setup,   Dream-Station      SoClean 2                 Time to        After        Time          After
                                                  Water
No.     Mode        Config.         Connect.                   detect     Disinfect.    to detect    Disinfect.
                                                   Level
                                                             Ozone (s)     to Decay     Ozone (s)     to Decay
                                                                          to Zero (s)                to Zero (s)
 7       C, 1   Without humid.     DS outlet       N/A          12          1147            -             -
 8       D, 1   Without humid.     DS outlet       N/A          64          1116            -             -
 9       C, 2     With humid.     Humid. Port     Empty         21          1204            -             -
 10      D, 2     With humid.     Humid. Port     Empty         34          1206            -             -
 11      C, 3     With humid.     Humid. Port     Filled        17          868             -             -
 12      D, 3     With humid.     Humid. Port     Filled        19          730             -             -
 13      C,3      With humid.     Humid. Port     Filled        13          549            90           1531
 14      C,3      With humid.     Humid. Port     Filled        9           580            79           1636
 15      C,3      With humid.     Humid. Port     Filled        10          498            73           1446
 16      C,3      With humid.     Humid. Port     Filled        11          669            83           1960
 17      C,3      With humid.     Humid. Port     Filled        10          2151          159           3106
 18      C,3      With humid.     Humid. Port     Filled        13          2786          142           4173
 19      C, 2     With humid.     Humid. Port     Empty         12          2038          153           3997
 20      C, 2     With humid.     Humid. Port     Empty         11          4071          150           4071
                  Humid. tray
 21     C, 4                      Humid. Port      N/A          11          2278          550           2278
                    removed
                  Humid. tray
 22     C, 4                      Humid. Port      N/A          8           2588          533           2588
                    removed
 23     C, 1    Without humid.     DS outlet       N/A          3           2663          166           3980
 24     C, 1    Without humid.     DS outlet       N/A          3           4504          123           5533
 25     D, 1    Without humid.     DS outlet       N/A          9           4343          ND             ND
 26     D, 1    Without humid.     DS outlet       N/A          2           4921          415           882
 27     D, 3      With humid.     Humid. Port     Filled        4           4073          340           3080
 28     D, 3      With humid.     Humid. Port     Filled        6           3380          295           4531
 29     D, 2      With humid.     Humid. Port     Empty         10          4598          326           4598
 30     D, 2      With humid.     Humid. Port     Empty         11          4110          263           6268
                  w/o humid.
 31     D, 5     ,w/o injection    DS outlet       N/A          5           6650           ND               ND
                      tube
                w/o humid. w/o
 32     D, 5                       DS outlet       N/A          4           5731           ND               ND
                 injection tube
ND – none detected; w/o - without

Ozone concentration was measured in the SoClean 2 chamber using the handheld GD200-O3 sensor in
Tests 13 to 16. Maximum ozone levels in the SoClean 2 chamber ranged from 72 and 95 ppm, as shown
in Table 5. The average of the maximum concentration values measured in the SoClean 2 chamber was
82 ppm.




                                                                                                                 14
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By contrast, measured maximum ozone concentrations in the DreamStation 1 using the handheld GD200-
O3 sensor reached 87 to 245 ppm as shown in Table 6, tests 17 to 32. The average of the maximum
concentration values measured in the DreamStation 1 was 194 ppm.

Ozone concentrations were still climbing in the DreamStation 1 and SoClean 2 chamber at the end of each
7-minute SoClean 2 disinfecting cycle. As a result, if a user set the cleaning time longer than the default
manufacturer setting of 7 minutes, ozone concentrations would likely be higher than measured in these
tests, which only employed the default 7-minute disinfecting cycle.


               Table 5. Maximum Ozone Levels Measured Inside the SoClean 2 Chamber
             Setup,      Dream-Station        SoClean 2       Humid.             Handheld        Max. Ozone
    Test
             Mode           Config.           Connect.       Water Level        Sensor Use         (ppm)
     13       C, 3        With humid.        Humid. Port        Filled          Last minute           72
     14       C, 3        With humid.        Humid. Port        Filled          Continuous            84
     15       C, 3        With humid.        Humid. Port        Filled          Continuous            95
     16       C, 3        With humid.        Humid. Port        Filled          Continuous            76


                   Table 6. Maximum Ozone Levels Measured Inside the DreamStation 1
           Setup,         DreamStation           SoClean 2      Humid.              Handheld      Max. Ozone
   Test
           Mode              Config.            Connection     Water Level         Sensor Use       (ppm)
    17      C, 3          With humid.          Humid. Port         Filled          Continuous          183
    18      C, 3          With humid.          Humid. Port         Filled          Last minute         151
    19      C, 2          With humid.          Humid. Port        Empty            Continuous          188
    20      C, 2          With humid.          Humid. Port        Empty            Last minute         153
    21      C, 4       Humid. tray removed     Humid. Port         N/A             Continuous           92
    22      C, 4       Humid. tray removed     Humid. Port         N/A             Last minute          87
    23      C, 1         Without humid.         DS outlet          N/A             Continuous          194
    24      C, 1         Without humid.         DS outlet          N/A             Last minute         182
    25      D, 1         Without humid.         DS outlet          N/A             Continuous          245
    26      D, 1         Without humid.         DS outlet          N/A             Last minute         228
    27      D, 3          With humid.          Humid. Port        Filled           Continuous          240
    28      D, 3          With humid.          Humid. Port         Filled          Last minute         222
    29      D, 2          With humid.          Humid. Port        Empty            Continuous          243
    30      D, 2          With humid.          Humid. Port        Empty            Last minute         221
    31      D, 5         Without humid.          DS outlet          N/A            Continuous          243
    32      D, 5         Without humid.          DS outlet          N/A            Last minute         224

The tests show that the preferential path for ozone flow was into the DreamStation 1, not into the SoClean
2’s disinfecting chamber. The average time to detect ozone in the DreamStation 1 was 13 seconds
compared to an average of 232 seconds (3.90 minutes) for the SoClean 2 disinfecting chamber.
Additionally, the average of the maximum ozone concentrations measured in the DreamStation 1 (Table
6) was 194 ppm compared to 82 ppm in the SoClean 2 disinfecting chamber (Table 5).



                                                                                                                15
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Tests run without the humidifier (adapter connected directly to the DreamStation 1 outlet, either with a
cut injection hose or with the injection hose removed altogether) had ozone concentrations that were
within the range of tests with the humidifier. No significant differences in maximum measured ozone
concentrations between the tests with and without the humidifier were discerned from the data.

An additional test, not shown in the test matrix, was run to measure the ozone concentration produced
by the SoClean 2. The handheld sensor was connected directly to the SoClean 2 black rubber ozone hose
for disinfecting cycles. The measured maximum ozone concentrations for these tests ranged from 305 to
362 ppm.

A separate test was conducted to check the ozone concentration at the DreamStation 1 air inlet port by
placing the tip of the handheld GD200-O3 sensor against the filter near the end of the disinfecting period.
The measured maximum ozone concentration for the single test was 180 ppm.

Charts with raw ozone sensor voltage and concentration versus time are presented in Appendix A.




                                                                                                          16
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7 CONCLUSIONS
Based on the foregoing, I have reached the following conclusions:
    •   The SoClean 2 is not a closed system. There were two open pathways for ozone from a SoClean
        2 to flow from the adapter.
            o    Ozone can flow from the adapter through the hose and attached mask into the SoClean
                 2 Disinfecting Chamber.
            o    Ozone can flow from the adapter into the DreamStation 1, through the internal flow path,
                 and out through the air filter (CPAP air inlet port) to ambient air.
    •   Both pathways were continuously open, resulting in split ozone flow between the two open
        pathways.
    •   Test results clearly showed that ozone preferentially flowed into the DreamStation 1 compared
        to the SoClean 2 chamber, as evident from the time for ozone to reach each device and the
        maximum ozone concentration levels in each device.
            o    After initiating a disinfecting cycle, ozone reached the DreamStation 1 blower chamber
                 on average in 13 seconds, whereas on average it took 232 seconds (3.9 minutes) for ozone
                 to reach the SoClean 2 chamber.
            o    Ozone concentration using a 7-minute disinfecting cycle averaged 194 ppm in a
                 DreamStation 1 blower chamber compared to 82 ppm in a SoClean 2 chamber.
    •   Water in the humidifier did not make a significant change to ozone levels in a DreamStation 1
        compared to tests with a dry humidifier. Also, no significant differences in maximum ozone
        concentrations were discerned from the data for tests with and without the humidifier, and for
        tests with the cut injection tube and without an injection tube altogether from the adapter.
    •   Foam pieces inside the DreamStation 1 were directly exposed to ozone from the SoClean 2 in all
        tests during the disinfecting period. Maximum measured ozone concentrations ranged from 87
        to 245 ppm. The open flow path through the DreamStation 1 caused ozone to flow over the foam
        pieces for the duration of cleaning. Furthermore, even after the end of a disinfecting cycle, ozone
        persisted in DreamStation 1 for 45 minutes on average, during which time the foam pieces
        continue to be exposed to ozone.
    •   Ozone dissipated in the DreamStation 1 before the conclusion of the two-hour dwell period in all
        tests. The shortest period during which ozone was measurable in the DreamStation 1 after
        completion of the disinfecting period was 498 seconds (8.3 minutes), the longest period was
        6650 seconds (110.8 minutes), and the average was 3159 seconds (52.7 minutes).
    •   Ozone that flowed through the DreamStation 1 discharged to atmosphere without being
        converted to oxygen. The ozone concentration outside of a DreamStation 1 at the air inlet port
        measured 180 ppm during a disinfecting cycle with a humidifier attached and filled with water.




                                                                                                          17
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         The Immediately Dangerous to Life or Health (IDLH) concentration for ozone is 5 ppm.5, 6
         The ozone level at the air inlet port in DreamStation 1 where ozone discharged to atmosphere
         was therefore 36 times the IDLH concentration.



8 EXPERT QUALIFICATIONS AND RATES
The CVs and expert testimony history for Quentin Baker are provided in Appendix A. The current billing
rate for Mr. Baker is $574/hr. Mr. Baker was assisted by Bradley J. Horn, Tyler T. Paschal, and Colby Fraint
with setting up tests, conducting tests, and compiling test results.

Dated: April 29, 2025




__________________________________
Quentin A. Baker




5
    NIOSH, “Ozone, Immediately Dangerous to Life or Health Concentrations (IDLH),”
    https://www.cdc.gov/niosh/idlh/10028156.html, May 1994
6
    Anon, “Safety Data Sheet for Ozone,” Ozone Solutions, chrome-
    extension://efaidnbmnnnibpcajpcglclefindmkaj/https://ozonesolutions.com/content/MSDSSafetySheet.pdf,
    10/02/2023


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        APPENDIX A. CVS AND TESTIMONY
                 EXPERIENCE




                                                     A-1
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                                                    QUENTIN A. BAKER, P.E.
                                                    Director – Investigation Services
                                                    Senior Principal Engineer
                                    M.B.A., University of Texas at San Antonio
                            B.S., Mechanical Engineering, Texas A&M University
                                                     Areas of Practice
Mr. Baker’s career has focused on explosion and combustion phenomena. He has conducted numerous R&D projects, hazards
analyses, and engineering studies involving airblast effects from a wide variety of explosion sources, blast loads, fragmentation
effects, debris throw, blast damage, and personnel injury. Injury prediction and risk analysis have also been the subject of
Mr. Baker’s research; he has contributed to the development of a building occupant vulnerability model.
                                                          Experience
    •    Mr. Baker’s experience with explosion phenomena includes experimentation with high explosives. He conducted an R&D
         program to develop a distributed explosives system to neutralize landmines, testing the system both on land and in
         shallow water to investigate blast output and sympathetic detonation of an acceptor charge. He also conducted tests to
         study shaped charge initiation of cased acceptor charges from long standoffs, with the acceptor charges positioned above
         ground and buried.
    •    Researched airblast propagation through openings into buildings and designed and tested passive devices to protect
         ventilation systems, which resulted in a patented design.
    •    Contributed to the design of a vapor cloud explosion test apparatus and participated in vapor cloud explosion tests.
    •    Developed shock tubes to simulate the blast loading from very large explosive charges and vapor cloud explosions.
         He subsequently tested glass/glazing systems to protect building occupants from glass fragments from vapor cloud
         explosion threats.
    •    Worked on numerous facility siting, safety analysis review, consequence analysis, explosion hazard analysis, and blast-
         resistant structural design projects during which he predicted internal and external blast loads. The blast sources have
         included high explosives, runaway chemical reactions, dust explosions, electrical arc, vapor clouds, bursting pressure
         vessels, and propellants. He has predicted fragment size, velocity, and throw for bursting pressure vessels and cased
         explosives.
    •    Inspected numerous petrochemical plants, specialty chemical plants, refineries, offshore platform, and other industrial
         facilities; identified explosion hazards, and developed explosion scenarios. He has conducted facility-wide risk analyses
         to predict the risk to personnel from potential explosion hazards.
    •    Investigated over 120 accidental explosions and fires, both domestic and international, to determine the number and
         magnitude of explosions, their locations on the site, origin of the explosion, and probable causes of initiation of each
         explosion. These accidents include internal and external vapor cloud explosions at refineries, chemical plants, offshore
         platforms, oil/gas wells, industrial facilities, and houses; an ammonium-perchlorate plant explosion; an electrical arc in a
         rail-gun research laboratory; runaway reactions in reactors, pipes, and tanks resulting in vessel burst and fragmentation
         including an ethylene oxide reactor, a waste products mixing tank, an agricultural products settling tank, ammonium
         nitrate reactor, a loop reactor, a fertilizer pump, and a pressure relief valve; large power generation boiler explosions;
         BLEVEs of rail cars and process vessels; and dust explosions in food processing, grain, rubber recycling, foundry, and
         rubber compounding facilities.
    •    Designed and conducted tests to evaluate hypotheses during incident investigations and to evaluate functionality or
         performance of equipment recovered from incident sites. He has developed numerous protocols for inspections and tests
         of evidence in-situ and in laboratories and facilitated the execution of numerous protocols in cooperation with
         government and private investigators.
    •    He has provided incident investigation training to industry and government personnel and has led short course instruction
         in blast and fragmentation effects.
    •    Managed a number of projects to develop computer programs to calculate the blast loads on structures from high
         explosive, vapor cloud explosion, and bursting pressure vessel sources considering ground reflection, Mach stem
         formation, and receptor structure orientation. He was involved in the development of a computational fluid dynamics
         model to predict bursting pressure vessel and vapor cloud explosion blast parameters, and with the use of this code,
         developed blast curves for both classes of explosions.



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                                                  QUENTIN A. BAKER, P.E.
                                                  Director – Investigation Services
                                                  Senior Principal Engineer
    •    Participated on API, NFPA, and ACI standards development committees including API RP-753 and RP-752, NFPA 921, and
         ACI 370.
    •    Managed projects and was contributing author for three CCPS books related to blast predictions, facility siting, and
         incident investigation.

                                              Professional Chronology
Southwest Research Institute, 1978-1987; Baker Engineering and Risk Consultants, Inc., 1987-present

                                   Professional Registrations/Certifications
    •    Registered Professional Engineer (Texas, Delaware, Iowa, Michigan, North Carolina)
    •    Certified Fire and Explosion Investigator (CFEI)
    •    Certified Fire Investigation Instructor (CFII)
                                             Professional Memberships
    •    American Society of Mechanical Engineers (ASME)
    •    American Institute of Chemical Engineers (AIChE)
    •    National Fire Protection Association (NFPA)
    •    National Association of Fire Investigators (NAFI)
    •    National/Texas Society of Professional Engineers (NSPE, TSPE)

                                        Current Committee Memberships
    •    NFPA 921, Guidelines for Fire and Explosion Investigations
    •    Mechanical Engineering Department Industry Advisory Council, Texas A&M University
                                           Past Committee Memberships
    •    API Facility Siting Task Force
    •    CCPS Vapor Cloud Explosion Committee
    •    ACI Committee 370, Short Duration Dynamic and Vibratory Load Effects




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                                             QUENTIN A. BAKER, P.E.                        History of Expert
                                           Director – Investigation Services
                                                                                              Testimony
                                               Senior Principal Engineer
             San Antonio
    BakerRisk                                                                                Testimony Dates
                           Client      Case Name and Number                Court
   Project No.                                                                            Deposition      Court


 9266-001             Armstrong        Gary & Debbie Bowers vs.     Circuit Court of
 404 St. Charles      Teasdale for     Evergy Missouri West et.     Johnson County,      2/18/2025
 St, Holden, MO       Evergy           al.                          State of Missouri



 8714-001                              Robert Rymers and            District Court,
                      Naman Howell
                                       Virginia Rymers vs. Right    224th Judicial       11/26/2024     2/5/25 –
 624 S. Walters St.   Smith & Lee
                                       Choice Heating and Air       District, Bexar                     2/6/25
 San Antonio, TX      for CPS Energy
                                       Company, et. al.             County, TX



 9166-001             Baker            Marty Lira vs. Lone Star     11th Judicial
 Mont Belvieu,        Donelson for     NGL Mont Belvieu LP, et.     District Court,      8/30/2024
 TX                   Targa            al.                          Harris County, TX


                      Fishman          Michael Johnson et. al. v.
                                       Packaging Corporation of     United States
 6120-003             Haygood for
                                       America, Inc. et. al.        District Court,
                      Packaging                                                                         4/17/24
 DeRidder, LA                                                       Middle District of
                      Corporation of   Civil Action No. 3:18-CV-    Louisiana
                      America, Inc.    00613-SSD-EWD


 7359-001                              Elizabeth Chavez Rayos et.
                      Zabel Freeman                                 407th Judicial
                                       al., v. Catalyst Midstream                        1/9/2024
 Stateline            for Howard                                    District, Bexar
                                       Partners, LLC, et. al.,
 Facility, Orla, TX   Energy                                        County, TX
                                       Cause No. 2020CI18952


 7202-001             Nyemaster                                     United States
                                       Rembrandt Enterprises,
                      Goode for                                     District Court for
 Rembrandt                             Inc. vs. Tecno Poultry                            11/15/22
                      Tecno Poultry                                 the Northern                        2/12/24
 Poultry,                              Equipment S.P.A, et al.,
                      Equipment                                     District of Iowa,
 Rembrandt, IA                         Civil Action 5:21-cv-04007
                      SPA                                           Western Division

                                       Toya Jones as
 6735                 Armstrong        Independent                                       4/20/2021
                                                                    Probate Court No.
 2301 Bendridge       Teasdale for     Administrator for the
                                                                    1, Travis County     5/18/2021
 Trail, Austin, TX    OneGas           Estate of Nicole Burton
                                       and David Passman




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                                             QUENTIN A. BAKER, P.E.                       History of Expert
                                          Director – Investigation Services
                                                                                             Testimony
                                              Senior Principal Engineer
            San Antonio
    BakerRisk                                                                               Testimony Dates
                          Client      Case Name and Number                Court
   Project No.                                                                           Deposition      Court

 6212-001           Babst Calland,
                                      George K. Mozingo et al.
                    Clements &                                     Circuit Court of
 2481 Eldersville                     vs. Mountaineer Gas
                    Zomnir for                                     Brooke County,       8/5/2020
 Rd, Follansbee,                      Company, Civil Action No.
                    Mountaineer                                    West Virginia
 WV 26037                             15-C-29
                    Gas Company
                    Schlee
 5945-001, 002,     McCarthy;         Selvin Rosales, et al. vs.
 003                Covington &       Washington Gas Light         Circuit Court for
 8701 Arliss        Burling for       Company, et at.,             Montgomery           11/1/19
 Street, Silver     Washington        Consolidated Case No,        County Maryland
 Spring, MD         Gas Light         426972-V
                    Company

 6393-001           Armstrong
                                      Angela Behme vs. Ameren      Twentieth Judicial
                    Teasdale for
 6225 Rt. 162,                        Illinois Company, et al.,    Circuit Court, St.   6/21/18
                    Ameren Illinois
 Maryville, IL                        Cause No. 16-L-324           Clair County, IL
                    Company

 6092-001           Brock, Person,    Victor A. Henneke, Jr., et
                                                                   229th Judicial
                    Guerra, Reyna     al. vs. Furmanite
 Southcross,                                                       Court, Duval         7/21/17        9/21/17
                    for Southcross    Corporation, et al., Cause
 Woodsboro, TX                                                     County, TX
                    Energy            No. DC-16-139
                                      Hanover Insurance Group,
 3540-001           Brock, Person,    et al. vs. Stewart &         218th Judicial
                    Guerra, Reyna     Stevenson, et al.
 Frac Site near                                                    Court, Atascosa      8/24/16
                    for Stewart &
 Jourdanton, TX                       Cause No. 13-08-07222-       County, TX
                    Stevenson
                                      CVA
                                      Barry Harris and Andrea
                                      Harris vs. Florida Public
 4954-001           Florida Power     Utilities Company and        Fifteenth Judicial
 West Palm          and Light         Florida Power & Light Co.,   Circuit, West Palm   3/1/16
 Beach, FL          Company                                        Beach, FL
                                      Case No. 2013 CA 11687
                                      AB
                    Schlee, Huber,
                                      Estate of Orval Jensen and   Fourth Judicial
                    McMullen &
                                      Karen Jensen vs.             District Court of
                    Krause for
 3275-001                             Suburban Energy Services,    Utah County, State   1/29/14
                    Suburban
                                      LLC et al., Civil No.        of Utah, Provo
                    Energy
                                      090400377                    Department
                    Services




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                     APPENDIX B. TEST DATA
 Tests utilizing the SPEC 0 to 20 ppm sensors (tests 1 through 6), the converted ozone concentration is
                            plotted along with the phase of the SoClean cycle.

Tests utilizing the MQ1310 1000 ppm sensors (tests 7 through 32), the raw voltage is plotted along with
                                  the phase of the SoClean cycle.

Tests utilizing the handheld GD200-03 sensor (tests 13 through 32), have the concentration data shown
                                          in a separate plot.

                                    For all plots with the phase plotted:
                                          Phase 0: sensor warmup
                                    Phase 1: sensor baseline (5 minutes)
                                   Phase 2: disinfecting cycle (7 minutes)
                                       Phase 3: dwell time (2 hours)
                                        Phase 4: purge (2 minutes)




                                                     B-1
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                                       Figure B-1. Test 1 and Test 2




                                       Figure B-2. Test 3 and Test 4


                                                     B-2
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                                       Figure B-3. Test 5 and Test 6




                                       Figure B-4. Test 7 and Test 8




                                                     B-3
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                                       Figure B-5. Test 9 and Test 10




                                      Figure B-6. Test 11 and Test 12




                                                     B-4
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                                             Figure B-7. Test 13




                                             Figure B-8. Test 14




                                                     B-5
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                                             Figure B-9. Test 15




                                      Figure B-10. Test 15 Handheld




                                                     B-6
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                                            Figure B-11. Test 16




                                      Figure B-12. Test 16 Handheld




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                                            Figure B-13. Test 17




                                      Figure B-14. Test 17 Handheld




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                                            Figure B-15. Test 18




                                      Figure B-16. Test 18 Handheld




                                                     B-9
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                                            Figure B-17. Test 19




                                      Figure B-18. Test 19 Handheld




                                                    B-10
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                                            Figure B-19. Test 20




                                      Figure B-20. Test 20 Handheld




                                                    B-11
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                                            Figure B-21. Test 21




                                      Figure B-22. Test 21 Handheld




                                                    B-12
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                                            Figure B-23. Test 22




                                      Figure B-24. Test 22 Handheld




                                                    B-13
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                                            Figure B-25. Test 23




                                      Figure B-26. Test 23 Handheld




                                                    B-14
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                                            Figure B-27. Test 24




                                      Figure B-28. Test 24 Handheld




                                                    B-15
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                                            Figure B-29. Test 25




                                      Figure B-30. Test 25 Handheld




                                                    B-16
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                                            Figure B-31. Test 26




                                      Figure B-32. Test 26 Handheld




                                                    B-17
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                                            Figure B-33. Test 27




                                      Figure B-34. Test 27 Handheld




                                                    B-18
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                                            Figure B-35. Test 28




                                      Figure B-36. Test 28 Handheld




                                                    B-19
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                                            Figure B-37. Test 29




                                      Figure B-38. Test 29 Handheld




                                                    B-20
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                                            Figure B-39. Test 30




                                      Figure B-40. Test 30 Handheld




                                                    B-21
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                                            Figure B-41. Test 31




                                      Figure B-42. Test 31 Handheld




                                                    B-22
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                                            Figure B-43. Test 32




                                      Figure B-44. Test 32 Handheld




                                                    B-23
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  APPENDIX C. MATERIALS CONSIDERED




                                                     C-1
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Devices
   • Two new DreamStation 1 devices
   • Two new SoClean 2 devices

Expert Report
   • Brad Olsen, Ph.D., March 24, 2005

Deposition
   • Mark Gavin, January 27, 2025

Other Case Materials
   • Philips Respironics DreamStation Heated Humidifier User Manual, 1121984, 08/19/2016,
       PHILIPS_SOCLEAN-005_00049660
   • SoClean 2 User Manual, SC1701_V7-Manual_USA_Final_indd 25, SoClean,_B2B_00009438
   • Email from Jorge Ortiz, 9/10/2020, SoClean_B2B_00122966
   • SoClean 2 User Manual, A000330-11_Rev B-SC1200 Manual_CA_040720.indd,
       SoClean_B2B_SoClean_B2B_00321323
   • Email from Bob Wilkins, 7/23/2021, SoClean_B2B_00458473
   • SoClean Durable Device Ozone Exposure Testing, Appendix M, SC1400-2VER-0052, Rev 3. 12-
       SEPT-2021, SoClean_B2B_00004849, pp. 2490-2549.
   • Videos of air flow during use of a DreamStation 1 and during use of a SoClean 2

Publicly Available Documents
   • Gas Dog GD200-O3 Portable Ozone Gas Detector, available at https://gasdog.com/portable-o3-
        gas-detector?srsltid=AfmBOoqy0zMGnkQ5IaV_vb5ROcaNC4zXbNBxlONm5JN9i-XAFY4wiVP-
   • L-Com Ozone Gas Sensor Module MQ131, available at https://www.l-com.com/ozone-sensor-
        modulemq131-o3-10-1000ppm-analog-ttl-output-sraq-g015-
        b?srsltid=AfmBOorbZNjWZmGRRRrbYCKFr0_ddIJwGZv0-uj9wyAT4NMlMQywGjnT.
   • Digikey 968-046 SPEC Sensor, available at https://www.digikey.com/en/products/detail/spec-
        sensors-a-division-of-interlink-electronics/968-046/7689230 .
   • SPEC Sensors ULPSM-03 968-046 Specification Sheet, available at https://www.spec-
        sensors.com/wp-content/uploads/2017/01/DGS-O3-968-042_9-6-17.pdf.
   • Spec Sensors DGS-O3 968-042 Specification Sheet, available at
        https://mm.digikey.com/Volume0/opasdata/d220001/medias/docus/2123/968-046_8-25-
        17.pdf?_gl=1*bu0bbr*_up*MQ..*_gs*MQ..&gclid=Cj0KCQjws-S-
        BhD2ARIsALssG0aYWDE2ZxUFr6rX3lAA-
        gFg5SvSZVIosMvx4WPMZj8mj7zK8r3AZCUaAi1lEALw_wcB&gclsrc=aw.ds.
   • Safety Data Sheet for Ozone, Ozone Solutions, 10/02/2023
   • Ozone Immediately Dangerous to Life or Health Concentrations (IDLH) NIOSH, May 1994.




                                                     C-2
